Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 1 of 7 PageID 1131




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 ROCKE WILLIAM DILBERT,

        Petitioner,

 v.                                                 CASE NO. 8:13-CV-2189-T-30MAP
                                                CRIM. CASE NO. 8:11-CR-631-T-30MAP
 UNITED STATES OF AMERICA,

       Respondent.
 ________________________________/

                                          ORDER

        Before the Court are Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

 Aside, or Correct Sentence by a Person in Federal Custody (CV Dkt. 1), and Memorandum

 in support of the § 2255 motion (CV Dkt. 2). Rule 4, Rules Governing Section 2255 Cases,

 requires both a preliminary review of the motion to vacate and a summary dismissal “[i]f it

 plainly appears from the face of the motion, any attached exhibits, and the record of prior

 proceedings that the moving party is not entitled to relief . . . .” Accord Wright v. United

 States, 624 F.2d 557, 558 (5th Cir. 1980) (The summary dismissal of a Section 2255 motion

 was proper “[b]ecause in this case the record, uncontradicted by [defendant], shows that he

 is not entitled to relief.”); Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) (“Rule

 4(b) of § 2255 allows the district court to summarily dismiss the motion and notify the

 movant if ‘it plainly appears from the face of the motion and any annexed exhibits and the

 prior proceedings in the case that the movant is not entitled to relief.’”) (quoting Rule 4,
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 2 of 7 PageID 1132




 Rules Governing Section 2255 Cases). After a preliminary review, the Court concludes that

 the § 2255 motion should be denied.

                                      BACKGROUND

        Petitioner and his co-defendants were indicted in a two-count Indictment charging

 violations of the Maritime Drug Law Enforcement Act (MDLEA), Title 46, U.S.C., Sections

 70503(a) and 70506(a) and (b) (CR Dkt. 1). Count One charged that Petitioner and his

 co-defendants conspired to possess with intent to distribute five kilograms or more of cocaine

 while on board a vessel subject to the jurisdiction of the United States. Count Two charged

 that Petitioner aided and abetted his co-defendants in the possession with intent to distribute

 five kilograms or more of cocaine, while on board a vessel subject to the jurisdiction of the

 United States.

        On March 7, 2012, the United States filed a “Plea Agreement” which had been

 executed by Petitioner (CR Dkt. 139). Petitioner admitted the following in the Factual Basis

 section of the Plea Agreement:

               On or about December 2, 2011, [Petitioner], along with sixteen co-
        defendants, was aboard the fishing vessel MR GEO encountered by the USS
        OAK HILL in international waters of the western Caribbean Sea. As the USS
        OAK HILL came on the scene, the MR GEO began maneuvering erratically
        and defendants aboard the MR GEO jettisoned bales of cocaine into the water.

               On questioning by U.S. Coast Guard law enforcement personnel
        embarked on the USS OAK HILL, the captain of the MR GEO claimed
        Honduran nationality for the vessel. The U.S. Coast Guard contacted the
        government of Honduras, which confirmed the claim of nationality and
        granted the United States permission to board and search the MR GEO.



                                               2
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 3 of 7 PageID 1133




                Meanwhile, U.S. Coast Guard and Navy personnel recovered sixty-five
        (65) of the jettisoned bales of cocaine from the water. The recovered cocaine
        weighed in excess of two thousand (2,000) kilograms. The defendant, along
        with his co-defendants, knew the cocaine was on board the vessel and was
        assisting in its transportation for later distribution. The packaging of the bales
        was typical of narcotics packaged for at-sea transport and later distribution.
        Testing later verified that the substance contained in the bales was in fact
        cocaine, a Schedule II controlled substance.

                On December 20, 2011, the government of Honduras waived its
        primary right to jurisdiction over the MR GEO and the defendants, who were
        later transported to the United States, first arriving inn the Middle District of
        Florida.

 (CR Dkt. 139, ¶ 9, pp. 17-18).

        On April 2, 2012, Petitioner entered his guilty plea pursuant to the Plea Agreement

 (CR Dkt. 157). Once again, at that hearing, Petitioner accepted the factual basis underlying

 his guilty plea as stated in the Plea Agreement. On July 24, 2012, Petitioner was sentenced

 to 135 months incarceration, to be followed by 5 years supervised release (CR Dkt. 402).

        Petitioner appealed. On May 20, 2013, the Eleventh Circuit Court of Appeals

 affirmed (CR Dkt. 458).

        Petitioner filed the instant § 2255 motion claiming that:

        1.     the Court lacked jurisdiction to adjudicate his case because he was arrested in

               the territorial waters of Honduras (Grounds One and Two); and

        2.     his sentence must be vacated pursuant to Alleyne v. United States, 133 S.Ct.

               2151 (2013).




                                                3
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 4 of 7 PageID 1134




                                              DISCUSSION

 I       Jurisdictional claim

         Grounds One and Two of the § 2255 motion rely on United States v.

 Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012), which does not apply to Petitioner’s

 case. In Bellaizac-Hurtado, the Eleventh Circuit ruled that the Maritime Drug Law

 Enforcement Act, 46 U.S.C. § 70503(a), et. seq., was unconstitutional as applied to the

 drug-trafficking activities of the defendants in that case, which occurred in the territorial

 waters of Panama. Id. at 1258. The Eleventh Circuit held that “Congress exceeded its

 power, under the Offences Clause [of the U.S. Constitution] when it proscribed the

 defendants’ [drug trafficking] conduct in the territorial waters of Panama.” Id. In United

 States v. McPhee, 336 F.3d 1269 (11th Cir. 2003), the Eleventh Circuit stated that “[t]he

 United States generally recognizes the territorial seas of foreign nations up to twelve nautical

 miles adjacent to recognized foreign coasts.” Id. at 1273.

         In his Plea Agreement, Petitioner admitted that his arrest location was in international

 waters (CR Dkt. 139 at p. 17). In the instant § 2255 motion, Petitioner argues that territorial

 waters extend 200 nautical miles beyond a coastal state, and that he was taken into custody

 90 miles off of the Honduras coast. In support of his argument, Petitioner appears to rely on

 the United Nations Convention on the Law of the Sea (“UNCLOS”).1




 1 Available at http://www.un.org/Depts/los/convention_agreements/convention_overview_convention.htm.


                                                       4
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 5 of 7 PageID 1135




        Article 2 of UNCLOS states that “[e]very state has the right to establish the breadth

 of its territorial sea up to a limit not exceeding 12 nautical miles, measured from baselines

 determined in accordance with this Convention.” Article 55 states that “[t]he exclusive

 economic zone is an area beyond and adjacent to the territorial sea.” Article 57 states that

 “[t]he exclusive economic zone shall not extend beyond 200 nautical miles from the

 baselines from which the breadth of the territorial sea is measured.”

        Petitioner implicitly argues that this Court should consider the 200-nautical-mile

 exclusive economic zone (“EEZ”) as territorial waters and apply Bellaizac-Hurtado. This

 misinterprets UNCLOS, which defines the EEZ as “an area beyond and adjacent to the

 territorial sea.” UNCLOS, art. 55, Dec. 10 1982, 1883 U.N.T.S. 397 (emphasis added).

 Petitioner does not cite any authority to explain why a Court in this circuit is not required to

 follow Eleventh Circuit precedent in McPhee and apply the 12-nautical-mile definition of

 territorial waters.

 II.    Alleyne v. United States

        In Grounds Three and Four of the § 2255 motion, Petitioner appears to argue that he

 is entitled to relief from his sentence pursuant to Alleyne. Alleyne held that “facts that

 increase mandatory minimum sentences must be submitted to the jury.” 133 S. Ct. at 2163.

        Petitioner is not entitled to relief under Alleyne. First, although he alleges that Alleyne

 is “retroactive,” Petitioner fails to allege any facts which show that he is entitled to relief

 under Alleyne. Second, the rule announced in Alleyne is not retroactive to cases on collateral



                                                 5
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 6 of 7 PageID 1136




 review. See, e.g., Simpson v. United States, 721 F.3d 875, 876 (7th Cir. 2013) (“Alleyne is

 an extension of Apprendi v. New Jersey, 530 U.S. 466, 120 S. Ct. 2348, 147 L. Ed. 2d 435

 (2000). The [Supreme Court] Justices have decided that other rules based on Apprendi do not

 apply retroactively on collateral review.”).        Third, even if Alleyene can be applied

 retroactively to cases on collateral review, it is irrelevant to Petitioner’s case. During his plea

 colloquy, Petitioner admitted to the fact used to support his ten-year minimum mandatory

 sentence under 21 U.S.C. § 960(b)(1)(B)(ii), i.e., smuggling five kilograms or more of

 cocaine (CR Dkt. 439 at 26-27). See United States v. Wimberly, 2013 U.S. App. LEXIS

 13360, 2013 WL 3214988, at *1 (6th Cir. June 26, 2013) (per curiam) (“[T]he holding of

 Alleyne is irrelevant to this case because Wimberly entered a guilty plea and specifically

 admitted discharging a firearm during the credit-union robbery . . . , the fact used to support

 his mandatory minimum sentence.”).

        Accordingly, the Court ORDERS that Petitioner’s motion to vacate (Dkt. 1) is

 DENIED. The Clerk is directed to enter judgment against Petitioner and to close this case.

                    CERTIFICATE OF APPEALABILITY AND
                 LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        The Court declines to issue a certificate of appealability because Petitioner has failed

 to make a substantial showing of the denial of a constitutional right as required by 28 U.S.C.

 § 2253(c)(2). Nor will the Court authorize the Petitioner to proceed on appeal in forma

 pauperis because such an appeal would not be taken in good faith. See 28 U.S.C. §




                                                 6
Case 8:11-cr-00631-JSM-MAP Document 463 Filed 09/25/13 Page 7 of 7 PageID 1137




 1915(a)(3). Petitioner shall be required to pay the full amount of the appellate filing fee

 pursuant to § 1915(b)(1) and (2).

       DONE and ORDERED in Tampa, Florida on September 25, 2013.




 SA:sfc
 Copies furnished to:
 Petitioner, pro se
 Counsel of Record




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